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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )   CASE NO.:
                                                  )
               Plaintiff,                         )   JUDGE
                                                  )
        v.                                        )
                                                  )
 ARMATAS CONSTRUCTION INC.,                       )   COMPLAINT
 C/O STATUTORY AGENT: GEORGE D.                   )
 ARMATAS,                                         )
                                                  )
                                                  )
               Defendant.                         )
                                                  )



       JUSTIN E. HERDMAN, United States Attorney for the Northern District of Ohio, on

behalf of the United States of America (the “Plaintiff), for its Complaint against ARMATAS

CONSTRUCTION INC. c/o Statutory Agent GEORGE D. ARMATAS says that:

       1. This is a civil action brought on behalf of the United States of America and this court

       has jurisdiction under the provisions of 28 U.S.C. § 1345.

       2. The defendant resides within the jurisdiction of this Court.

       3. The defendant owes Plantiff the principal sum of $2,800.00, plus interest and fees, in

       connection with workplace safety violations under the Occupational Safety and Health
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Act of 1970, 29 U.S.C. 651, as more fully set forth on the Certificate of Indebtedness

attached hereto as Exhibit A.

4. Due demand has been made for payment.



       WHEREFORE, Plaintiff demands judgment against defendant as follows:

In the amount of $2,800.00 principal, plus interest of $116.80 accrued through April 26,

26, 2019, Administrative fee of $20.00, Debt Management Services Fees of $1,159.54,

Department of Justice Fees of $147.93, and Penalty Charges of $686.77 for a total of

$4,931.04.




                                              Respectfully submitted,

                                              JUSTIN E. HERDMAN
                                              United States Attorney

                                      By:    /s/Alex Rokakis
                                              Alex Rokakis (OH:0029078)
                                              Assistant United States Attorney
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